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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

ORLANDO DIVISION
UNITED STATES OF AMERICA, )
Plaintiff,
v. ) CASE NO.: 6:24-CR-287-CEM-RMN
ERIC PATRICK,
Defendant.
)

DEFENDANT’S, ERIC PATRICK, NOTICE TO THE COURT
REGARDING INVENTORY OF ELECTRONIC DEVICES TO BE USED BY
THIRD-PARTY CUSTODIAN

The Defendant, ERIC PATRICK (hereinafter, “Mr. Patrick”), by and through his
undersigned counsel and hereby files this, Notice to the Court Regarding Inventory of
Electronic Devices to be Used by Mr. Patrick’s Third-Party Custodian at Mr. Patrick’s
designated residence of 1711 Maple Leaf Drive, Windermere, Florida 32786, and further
states as follows:

1. On January 2, 2025, Mr. Patrick was arrested in this case and had his initial
appearance, arraignment, and bond hearing. Doc. 20. At the conclusion of the proceedings,
the Court entered an Order setting conditions of release for Mr. Patrick, including that he
be placed into the custody of Iliana Mascata at the above-listed address. Doc. 25. The
Court’s Order further provided that:

Third party custodian may have internet access and devices at
residence. All must be password protected + wifi password

changed by 4 p.m. 1/3/25. Inventory of all devices to Court by
1/3/25 @ 4 p.m. [sic].

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Id. At 5.

2. Ms. Moscata will have the following electronic devices at 1711 Maple Leaf
Drive, Windermere, Florida 32786: (a) 1 MacBook laptop; (b) 1 Apple watch; (c) 1 I-Pad;
and (d) 1 I-Phone. Ms. Moscata has informed the undersigned that she has password
protected all of these devices, as well as the Wi-Fi at the above-listed address.

3. The internet connection at the above-referenced address has been
disconnected. Ms. Moscata is a nursing student who will need internet connection to
complete her assignments. To that end, Mr. Patrick will file a separate motion to allow a
password protected Wi-Fi hotspot for Ms. Moscata’s use only.

Respectfully submitted this 3 day of January 2025.

JOHN NOTARI, ESQUIRE
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Attorney for Defendant

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that, on this 3S day of January 2025, I electronically filed

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the foregoing with the Clerk of the Court by using the CM/ECF system which will send a

notice of electronic filing to all parties of record.

Florida Bar No.: 0009260

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